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                    EXHIBIT 13
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                                                                                  Page 324
 1              CONFIDENTIAL - HUGH SAWYER
 2            UNITED STATES BANKRUPTCY COURT
 3             FOR THE DISTRICT OF DELAWARE
 4   --------------------------------X
     In Re:
 5

     ENERGY FUTURE HOLDINGS
 6   CORPORATION, et al.,
 7                       Debtors.
 8   Chapter 11
     Case No. 14-0979
 9   Jointly Administered
     --------------------------------X
10

11

12         *** C O N F I D E N T I A L ***
13

14                VIDEOTAPED DEPOSITION
15                              OF
16                     HUGH SAWYER
17              Wednesday, October 8, 2014
18                 Seven Times Square
19                  New York, New York
20

21

22   Reported by:
     AYLETTE GONZALEZ, RPR, CLR, CCR
23   JOB NO. 85457
24

25



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                                                                                       Page 357
 1                 CONFIDENTIAL - HUGH SAWYER
 2           A.     I listened to the advice of
 3   Evercore and the company's management team and
 4   Kirkland.      And to come to the conclusion --
 5   the business judgment that, you know, this may
 6   not be the opportune moment to enter the
 7   markets, but it's a good moment to enter the
 8   markets and to determine the value of this
 9   asset and, of course, with maximum flexibility
10   in these bidding procedures and with the
11   fiduciary out, I view this as an opportunity
12   to set a floor.
13           Q.     And somebody said to you there
14   could be a war so we have to sell this asset
15   now?
16                  MS. O'CONNOR:             Object to form.
17           A.     No, no one said that to me.
18           Q.     Well, when I asked, you said one of
19   your concerns was that there could be a war
20   that would be catastrophic and then you said
21   you got some advice or there's some --
22   provided to you by Evercore.                       I'm wondering
23   specifically what the nature of that was.
24                  MS. O'CONNOR:             Object to form.
25           A.     Yes.      I'm sorry; I thought you also

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                                                                                    Page 358
 1               CONFIDENTIAL - HUGH SAWYER
 2   asked for my opinion.           My opinion of the
 3   markets are that it's an opportune moment.                            It
 4   may not be the best moment, but it's a good
 5   moment.    We have relative calm in the debt and
 6   equity markets.      I'm comfortable it's a good
 7   time to attempt to set the floor.
 8         Q.     Tell me what you mean when you say,
 9   set the floor?
10         A.     For the value.            The floor for the
11   value of this asset and, of course, with the
12   fiduciary out.     If there's a better
13   opportunity, we'll take it.
14         Q.     Well, let me explore that with you.
15         A.     Sure.
16         Q.     When you say, set a floor is, it
17   your view that once a buyer commits to the
18   proposed transaction, you've assured yourself
19   of obtaining whatever value they commit to as
20   a floor?
21         A.     Well, it's impossible to speculate
22   what the specific terms and conditions of an
23   acquisition agreement might include.                           An
24   aspect of the bidding procedures as you know,
25   they're committed through December of 2015.                             I

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                                                                                     Page 359
 1                 CONFIDENTIAL - HUGH SAWYER
 2   think we're going to learn here through the
 3   process what the market will bear for this
 4   asset.     That's what I mean.
 5           Q.     But you don't have -- well, let me
 6   ask:    Do you have an expectation that if a
 7   bidder commits to pay -- just make up a number
 8   -- 18 billion and a year later when it comes
 9   down time to close or gets close to closing
10   time, for whatever reason there's been a
11   catastrophic event or otherwise, and the
12   "asset" is worth $2 billion, you're not -- are
13   you expecting that you will have locked in the
14   buyer so, ineffectively -- effectively, you
15   will achieve that value?
16           A.     Well, as I said, we don't have the
17   specific terms and conditions related to an
18   acquisition agreement, and I can't speculate
19   today what those terms and conditions may be.
20   I do know that through the bid process,
21   they're committing to their proposal through
22   December of 15.
23           Q.     Okay.       But setting a floor, as you
24   say, was one of the primary drivers in filing
25   the Motion, right?

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                                                                                   Page 403
 1              CONFIDENTIAL - HUGH SAWYER
 2   to get all the regulatory approvals.                          And I am
 3   certain that any bidder will be aware of that,
 4   as well, given the level of sophistication of
 5   these bidders.
 6         Q.    I want to show you what we're going
 7   to mark as Exhibit 2, Sawyer 2, which is --
 8   and I'll just wait till you get it.
 9               (Sawyer Exhibit 2, Stipulation and
10         Agreed Order, Filed on 9/16/14 was
11         marked for identification, as of this
12         date.)
13    BY MR. JONAS:
14         Q.    What's been marked as Sawyer
15   Exhibit 2 is a stipulation and agreed order
16   regarding a protocol for certain case matters.
17               This was filed with the Court on
18   September 16, 2014.        I'll ask you to take a
19   look at that.
20               Have you seen this before?
21         A.    I have not seen this.
22         Q.    Okay.       So I take it you never
23   familiarized yourself with the terms of the
24   stipulation?
25         A.    I've testified I haven't seen it.

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                                                                                  Page 423
 1              CONFIDENTIAL - HUGH SAWYER
 2   I've not discussed it specifically with them.
 3         Q.    Well, what have they told you about
 4   alternative transactions?
 5         A.    I think, you know, that Evercore
 6   and -- and Kirkland have a view today that a
 7   tax-free spinout is clearly the -- as they
 8   characterize it, the optimum structure, but I
 9   don't think any of the advisors or the debtor
10   want to -- want to preclude any potential
11   structure or bidder that has the potential to
12   maximize the value of the estate.
13         Q.    When you say "Evercore," are you
14   referring to Mr. Hiltz?
15         A.    Not -- not solely Mr. Hiltz.                        I'm
16   referring to the firm which includes a team of
17   professionals.
18         Q.    Well, who made the presentation to
19   you that you referred to or the comments at a
20   board meeting with respect to an alternative
21   transaction?
22         A.    I don't think I testified that any
23   specific individual at Evercore commented on
24   an alternative transaction or the potential
25   value of an alternative transaction.

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                                                                                  Page 466
 1              CONFIDENTIAL - HUGH SAWYER
 2         Q.    Now, you recognize Kirkland also
 3   represents EFH, right?
 4         A.    I do.
 5         Q.    And you recognize that the flip
 6   side of this huge benefit for TCEH creditors
 7   would mean that EFH creditors would suffer all
 8   of the economic loss associated with a taxable
 9   transaction?
10         A.    Potentially that's my
11   understanding.
12         Q.    Right.      So Kirkland -- do you
13   understand Kirkland then is serving two
14   masters?
15         A.    I believe my view is that Kirkland
16   is serving one master, EFH, and all of EFH
17   subsidiaries.
18         Q.    With respect to this particular bit
19   of advice, you understand that advice that
20   Kirkland gave you with respect to the TSA
21   would necessarily have the benefit of
22   advancing the interest of one client and
23   truncating the rights of another client?
24               MS. O'CONNOR:           Object to form.
25         A.    I don't agree that -- I don't see

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                                                                                     Page 467
 1               CONFIDENTIAL - HUGH SAWYER
 2   THAT there are two separate clients here.                             And
 3   I believe I view this as one client at this
 4   point.    If I determine that the interests of
 5   the parties had diverged, I would seek
 6   independent counsel.
 7         Q.     Well, have you ever been involved,
 8   in all your business dealings, in a
 9   contractual dispute?
10         A.     Yes.
11         Q.     Can you think of any instance in
12   which in a contractual dispute you hired a
13   lawyer?
14         A.     Yes.
15         Q.     Can you think of any instance in
16   all your business experience where there was a
17   business dispute and you hired a lawyer who
18   was also the lawyer for the party on the other
19   side of the dispute?
20         A.     No.
21         Q.     And do you see that there's a
22   conflict there that the lawyer trying to
23   provide advice with respect to the contract
24   has two different agendas that they need
25   advocate for?

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                                                                                  Page 475
 1                CONFIDENTIAL - HUGH SAWYER
 2   enure to the benefit of the parties."
 3                 You see that?
 4           A.    Um-hum.
 5           Q.    You understand one of the parties
 6   here is TCEH?
 7           A.    Right.
 8           Q.    Were you aware that counsel was
 9   signing a stipulation that was going to bind
10   TCEH?
11           A.    And as I think I previously
12   testified, I was not aware of this document so
13   then, therefore, I was not aware.
14           Q.    Can you turn to paragraph four,
15   please.
16           A.    Okay.
17           Q.    If you go down to -- after the
18   definition of "independent matters," there's a
19   sentence.     You see that it's down five lines
20   up from the bottom.         It says, "The independent
21   directors of EFCH and TCH shall consult with
22   the creditors' representatives regarding the
23   selection of an independent advisor or
24   independent advisors."
25                 Were you aware that that on your

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                                                                                  Page 479
 1               CONFIDENTIAL - HUGH SAWYER
 2   the TCEH claims that's a question of
 3   allocation of proceeds.             You remember that
 4   testimony?
 5         A.     I think I said that the allocation
 6   of proceeds, should there be proceeds, would
 7   be decided through the course of this case.
 8         Q.     Right.      Was it your intent to be
 9   testifying that if TCH has claims that EFIH or
10   at EFIH, they'll be entitled to share in those
11   proceeds?
12         A.     My intent was only to testify that
13   through the process of the court, that the
14   court would determine how to best allocate
15   those proceeds.
16         Q.     And that your view was right now,
17   you should be maximizing the value of the sale
18   of the Oncor equity stake?
19         A.     Exactly; given that I think there
20   is certainly no downside for the T-side
21   creditors to maximize the value of the estate.
22         Q.     Let me ask you a question.
23         A.     Sure.
24         Q.     Were you aware that one of the
25   claims has been raised since the first

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                                                                                  Page 480
 1               CONFIDENTIAL - HUGH SAWYER
 2   pleading, at least that we filed in this case,
 3   that EFCH, in 2007, transferred the Oncor
 4   business over to the E-side?
 5         A.     I do recall that claim.
 6         Q.     And do you understand that the
 7   assertion has been made that that might lead
 8   to a fraudulent conveyance claim that EFCH
 9   could bring against the E-side?
10         A.     I do recall that assertion.
11         Q.     Do you understand that those claims
12   not only would be against EFIH but potentially
13   could be asserted against entities inside the
14   ring fence?
15                MS. O'CONNOR:           Object to form.
16         A.     I can't testify to that legal
17   matter.    That would be up to the attorneys in
18   the court.    I am aware that certain assertions
19   have been made.
20         Q.     And do you understand that one of
21   the consequences is that if EFCH were able to
22   go inside the ring fence and sue the entities
23   inside the ring fence, the EFCH claims would
24   be senior to the equity interests of EFIH?
25                MS. O'CONNOR:           Object to form.

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                                                                                  Page 481
 1              CONFIDENTIAL - HUGH SAWYER
 2         A.     I understand that assertion has
 3   been made.
 4         Q.     Now, you understand also that TCEH
 5   is supporting a motion right now which will
 6   have the EFIH equity sold before
 7   February 28th?
 8                MS. O'CONNOR:           Object to form.
 9         A.     My understanding is that the
10   bidding procedures contemplate a process that
11   will take months.
12         Q.     Right.      Do you understand that the
13   contemplation is that this -- that whatever is
14   being sold is going to be sold some time in
15   January or February?
16         A.     I -- my understanding is that it
17   will take months to get the regulatory
18   approvals, let alone, a confirmation by the
19   court closing transaction.
20         Q.     So let's go over at least what your
21   understanding is.        Bidding procedures say
22   you're going to go out and try to get a
23   potential bidder and you're going to try to
24   negotiate some definitive documentation,
25   right?

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                                                                                  Page 527
 1              CONFIDENTIAL - HUGH SAWYER
 2         A.    I did.
 3         Q.    And are you aware of the fact that
 4   the old NextEra bid conformed to the optimum
 5   tax structure?
 6         A.    I was aware that the bid, as it
 7   existed at that time, did largely conform with
 8   that tax structure.
 9         Q.    And are you generally familiar with
10   the values that would have been available to
11   the E-side of the house pursuant to that old
12   NextEra bid?
13         A.    I reviewed it at that time.                       I
14   don't recall those values today.
15         Q.    I want to give you a hypothetical.
16   If the NextEra bid in the form that you were
17   familiar with were to be submitted today in a
18   fashion that gave rise to a taxable
19   transaction, in order for that bid from a
20   value creation perspective to equal or exceed
21   the old NextEra bid, which was consistent with
22   the optimum tax structures, by how many more
23   dollars would NextEra have to bid?
24               MS. O'CONNOR:            Object to form.
25         A.    That is -- thank you for

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                                                                                  Page 528
 1              CONFIDENTIAL - HUGH SAWYER
 2   identifying it as a hypothetical question
 3   because it's clearly hypothetical.                      But at a
 4   -- without all the other attributes of what
 5   that transaction might involve, including the
 6   ability to get it confirmed, the ability to
 7   get it closed, the ability to get past the
 8   regulatory hurdles, without considering all of
 9   those factors, we have been concerned, as you
10   know, all along about the potential for a
11   $7 billion stranded tax at the E-level -- EFH
12   level.
13         Q.    I'm not sure that I understand your
14   answer, so am I to assume, therefore, that
15   everything else being equal, regulatory
16   approvals, ability to confirm a plan of
17   reorganization, that just comparing the old
18   NextEra bid to any new bid that may come in,
19   that instead of being non-taxable is now
20   taxable?
21         A.    Right.
22         Q.    Are you telling me that the taxable
23   bid, in order to be a winning bid, would have
24   to be $7 billion higher in value?
25         A.    No.    Thank you.            I'm not suggesting

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                                                                                  Page 541
 1              CONFIDENTIAL - HUGH SAWYER
 2         A.    And if I could clean up one other
 3   dangling issue while I'm still on the record.
 4   I think this -- I think I testified earlier
 5   that this stipulation and agreed order, the
 6   protocol of the case matters as I've sat here,
 7   and apologies for the senior moment, I think I
 8   probably -- as I sat here and thought about
 9   it, I think I did receive this at some point.
10   It just had been some time since I thought
11   about it, so...
12               MR. SHORE:          I have a follow-up
13         questions on that.
14    EXAMINATION BY
15    MR. SHORE:
16         Q.    First of all, if you had received
17   it, how would you have received it?
18         A.    If I had received it, it probably
19   would have come in under board vantage.
20         Q.    Or in an e-mail to you?
21         A.    I don't recall if it would have
22   been e-mailed or not.
23         Q.    Has there been any instance in
24   which you've been given a paper relating to
25   this case other than through board vantage or

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